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JAMES SHAYLER,

-VS-

EHAB 8. YACOUB, AN INDIVIDUAL;
LORINE A. MIKHAEIL ; AND DOES |
THROUGH 10, INCLUSIVE

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No. 2:20-CV-01882 RAO

Plaintiff, [Assigned for all purposes to the Honorable
Rozella A. Oliver

MOTION FOR CONTINUANCE OF

PLAINTIFF’S MOTION FOR ATTORNEY
FEES

Defendants.

 

 

[PROPOSED] ORDER

Having received Defendants’ motion for a continuance of Plaintiff's motion

for an award of attorney fees, the motion is hereby GRANTED. The hearing

previously scheduled for October 13, 2021, is hereby rescheduled for

SO ORDERED
Date:

, 20 BE a.m./p.m.

 

Rozella A. Oliver
United States District Judge

 

ORDER

 
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PROOF OF SERVICE
I, Kevin M. Badkoubehi:

Tam a citizen of the United States and employed in Los Angeles County, California. | am
over the age of eighteen years and not a party to the within entitled action. My business address is
5850 Canoga Avenue, Suite 301 Woodland Hills, CA 91367

On October 6, 2021, | served a copy of the within document(s):

PROPOSED ORDERMOTION TO CONTINUE PLAINTIFF MOTION FOR ATTY
FEES

 

BY MAIL: by placing the document(s) listed above in a sealed envelope with
postage thereon fully prepaid, the United States mail at Los Angeles, California
addressed as set forth below.

 

BY E-SERVICE: by transmitting via E-Filed by One Legal the document(s)
listed above to the following person(s) as designated on the Transaction Receipt
located on the One Legal website.

BY ELECTRONIC SERVICE: by transmitting via e-mail or electronic
transmission the document(s) listed above to the person(s) at the e-mail address(es)
set forth below.

 

 

 

 

 

 

Attorneys for Plaintiff
Anoosh Hakimi

Peter Shahryar

H&S Law Group, PLC
1800 Vine Street. Suite 804
Los Angeles, CA 90028

 

 

 

1 am readily familiar with the firm's practice of collection and processing correspondence for
mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the
party served, service is presumed invalid if postal cancellation date or postage meter date is more than
one day after date of deposit for mailing in affidavit.

Executed on October 6, 2021, at Woodland Hills, California.

I declare under penalty of perjury under the laws of the State of California that the above is
true and correct.

/s/ Kevin M. Badkoubehi
Kevin M. Badkoubehi

 

[Ge

PROOF OF SERVICE _

 

 
